1 F.3d 1233
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Tyrone MCLAUGHLIN, Plaintiff-Appellant,v.PETERSBURG SHERIFF DEPARTMENT; Joseph Harper, Jr.; Sgt.Tillmem; Robert L. Jones, Deputy,Defendants-Appellees.
    No. 93-6328.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 3, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T. S. Ellis, III, District Judge.  (CA-92-996-AM)
      Tyrone McLaughlin, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Tyrone McLaughlin filed suit under 42 U.S.C. Sec. 1983 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    